Case 2:19-cv-02774-JDT-cgc Document1 Filed 11/08/19 Page1of24 PagelID1

Benner —& Mies W

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

(Enter above the full name of the plaintiff
or plaintiffs in this action.)

 

VS.

Tude Leg Corree, ADAG, Meow Bulee,
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3 Ard SarGert CLEAVES of “The. siteley County Cain ben Bushe Cente

(Enter above the full name of the defendant
or defendants in this action.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS UNDER 42 U.S.C., §1983

I. Previous Lawsuits
A. Have you begun other lawsuits in state or federal court dealing with the ni facts

B,

involved in this action or otherwise relating to your imprisonment? Yes ¢

No ()

If your answer to A is yes, describe each lawsuit in the space below. (If there is more
than one lawsuit, describe the additional lawsuits on another piece of paper, using
the same outline.)

1.

Parties to this previous lawsuit

Plaintiffs: Se na 4 pte Miles

 

Defendants: Lt. A. Cavwol/y | Cho Iiina bet ly white. 6 TAHL AH BAR Ke

 

 

2. Court (if federal court, name the district; if state court, name the county):

3.

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5.

6.

7,

U5. STATES Dist@cl CoutT WKSTERM DrstRicT oF TEAWESSEE W:9.
Docket Number: I9- 2241 - JOT -Cge

Name of judge to whom case was assigned: Dames D. Todd
Disposition (for example: Was the case dismissed? Was it appealed? Is it still

ending?
p g?) SM Pending

 

Approximate date of filing lawsuit: F pel 2, ZO?

Approximate date of disposition: ex

-l- Revised 4/18/08
Case 2:19-cv-02774-JDT-cgc Document 1 Filed 11/08/19 Page 2o0f24 PagelD 2

yp ° ar
I, Place of Present Confinement: 3 Kelloy Cuntty Ceimuwal Jast'ce Certce
A. Is there a prisoner grievance procedure in the institution?
Yes YNo()

B. Did you present the facts relating to your complaint in the state prisoner grievance
procedure? YesQ@’ NoQ

C. If your answer is Yes:
1, What steps did you take? Cle JReevarce S peeleluing Mouse

Ant Misuse of Bliuntion Peocess. Ceievanee tt 6 - 47S £ 998579
2. What was the result? # YU7TGOIS was GRiwacle “ITSIB was Rled wet

 

 

D. If your answer is No, explain why not:

 

III. Parties
(In item A below, place your name in the first blank and place your present address in the

second blank. Do the same for additional plaintiffs, if any.)
A. Name of Plaintiff Bensamind F. Miles

Address 201 Pao ( lag AVE Menprs TA 3310S

(In item B below, place the full name of the defendant in the first blank, his official
position in the second blank, and his and his place of employment in the third blank.
Use Item C for the names, positions, and places of employment of an additional

defendants.)
B. Defendant Lee CorFEE is employed as

pudg e
at_SNELBY CouuTY FOr" Judicin( Disterct wv TEMVESSE€

C. Additional Defendants: Meghan foutee (A. DAG of Glelby County 36 Mi udicral
Distaict iat TEAWVESSE) Buens, PREE, ROGERS, WALTE’, wes
(Cogtec ti ova/ offices oF Sha lloy County Ceiminak Jushoe Cen hee)

IV. Statement of Claim

State here as briefly as possible the facts of your case. Describe how each defendant is
involved. Include also the names of other persons involved, dates, and places. Do not
give any legal arguments or cite any cases or statutes. If you intend to allege a number of
related claims, number and set forth each claim in a separate paragraph. Use as much
space as you need. Attach extra sheet if necessary.

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-2- Revised 4/18/08
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V. Relief
State briefly exactly what you want the court to do for you. Make no legal arguments.

Cite no cases or statutes. .
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VI. Jury Demand wo,
I would like to have my case tried by a jury. Yes () No “

I (We) hereby certify under penalty of perjury that the above complaint is true to the best of our

information, knowledge, and belief.

th
Signed this S day of Novem bok 20 17

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(Signature of Plaintiff/Plaintiffs)

-3- Revised 4/18/08
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